                 Case 2:12-cr-00185-TLN Document 332 Filed 01/02/19 Page 1 of 2


 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 201-4188
     Mike.Long.Law@msn.com
 4
     Attorney for ROBB CHEAL
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 2:12-cr-185 TLN
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND ORDER
            v.                                      ) TO CONTINUE
10                                                  ) STATUS CONFERENCE
     ROBB CHEAL,                                    ) Date: 2-14-2019
11
                                                    ) Time: 9:30 a.m.
12
                     Defendant.                     ) Judge: Hon. Troy L. Nunley
     ================================)
13
            It is hereby stipulated between the parties, Jason Hitt, Assistant United States Attorney,
14

15
     Michael D. Long, attorney for defendant ROBB CHEAL, that the status conference set for January

16   3, 2019, at 9:30 a.m. should be vacated and re-set for February 14, 2019, at 9:30 a.m.
17          Mr. Cheal has already entered a plea of guilty. The parties further agree that this court should
18
     make a finding of good cause for the requested extension and that in fact good cause is hereby shown.
19
     Mr. Long will be replaced by CJA Michael Hansen due a legal conflict of interest. Mr. Hansen will
20
     use the time between now and February 14, 2019, to receive and review the case file, meet with Mr.
21

22   Cheal, and to advise Mr. Cheal.

23          All parties request the date of February 14, 2019, for the status hearing. The request for
24
     extending the date for the status conference is at the specific request of the defendants and with the
25
     knowing, intelligent and voluntary waiver of their speedy trial rights under the law. Good cause is
26
     hereby shown.
27

28




                                                     -1-
              Case 2:12-cr-00185-TLN Document 332 Filed 01/02/19 Page 2 of 2


 1   Dated: January 2, 2019                                 Respectfully submitted,
 2
                                                            /s/ Michael D. Long__________
 3                                                          MICHAEL D. LONG
                                                            Outgoing Attorney for Robb Cheal
 4
     Dated: January 2, 2019                                 Respectfully submitted,
 5

 6                                                          /s/ Michael Hansen__________
                                                            MICHAEL HANSEN
 7
                                                            Incoming Attorney for Robb Cheal
 8

 9   Dated: January 2, 2019                                 BENJAMIN WAGNER
                                                            United States Attorney
10

11
                                                            /s/ Jason Hitt________
                                                            JASON HITT
12                                                          Assistant U.S. Attorney
                                    ORDER
13

14          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.

15          The date for the status hearing in this matter is hereby re-set for February 14, 2019, at 9:30
16   a.m., before District Court Judge Troy L. Nunley.

17
     Dated: January 2, 2019
18

19
                                                              Troy L. Nunley
20                                                            United States District Judge
21

22

23

24

25

26

27

28




                                                     -2-
